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               Exhibit A
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                                                                    Cases that cite this headnote
                     2018 WL 3542624
       Only the Westlaw citation is currently available.
       United States Court of Appeals, Second Circuit.        [2]   Federal Courts
                                                                        Mode and sufficiency of presentation
         Heidi LANGAN, on behalf of herself and all                 Because a plaintiff’s standing to sue implicates
         others similarly situated, Plaintiff-Appellee,             appellate court's power to hear the case,
                               v.                                   appellate court must consider the issue even if
           JOHNSON & JOHNSON CONSUMER                               it was barely raised in and not addressed by
          COMPANIES, INC., Defendant-Appellant.                     the district court.

                         No. 17-1605                                Cases that cite this headnote
                              |
                      August Term, 2017                       [3]   Federal Civil Procedure
                              |                                         In general; injury or interest
                   Argued: February 6, 2018
                                                                    Federal Courts
                              |
                                                                        Case or Controversy Requirement
                    Decided: July 24, 2018
                                                                    Article III of the Constitution limits the
Synopsis                                                            jurisdiction of the federal courts to the
Background: Consumer brought putative class action                  resolution of cases and controversies; to
against seller of baby bath products, alleging violation of         ensure that this bedrock case-or-controversy
Connecticut Unfair Trade Practices Act (CUTPA) and                  requirement is met, courts require that
other state consumer protection laws. The United States             plaintiffs establish their standing as the proper
District Court for the District of Connecticut, No. 13              parties to bring suit. U.S. Const. art. 3, § 2, cl.
Civ. 1471, Jeffrey A. Meyer, J., 2017 WL 985640, certified          1.
class. Seller appealed.
                                                                    Cases that cite this headnote


[Holding:] The Court of Appeals, John M. Walker, Jr.,         [4]   Federal Civil Procedure
Circuit Judge, held that district court failed to engage in             In general; injury or interest
rigorous analysis of similarities and difference in various         Federal Civil Procedure
state laws at issue, and thus remand was necessary.                     Causation; redressability
                                                                    To have standing to sue, a plaintiff must
                                                                    demonstrate (1) a personal injury in fact (2)
Vacated and remanded.
                                                                    that the challenged conduct of the defendant
                                                                    caused and (3) which a favorable decision will
                                                                    likely redress.
 West Headnotes (19)
                                                                    Cases that cite this headnote

 [1]       Federal Courts
                                                              [5]   Federal Civil Procedure
               Class actions
                                                                        In general; injury or interest
           Appellate court reviews a district court’s
                                                                    The doctrine of standing tests whether a
           decision to certify a class for abuse of
                                                                    prospective litigant may properly invoke the
           discretion, the legal conclusions that informed
                                                                    power of the federal courts.
           its decision de novo, and any findings of fact
           for clear error. Fed. R. Civ. P. 23.                     Cases that cite this headnote



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                                                                      Common interest in subject matter,
 [6]    Constitutional Law                                        questions and relief; damages issues
            Encroachment on Legislature
                                                                  Whether a plaintiff can bring a class action
        Constitutional Law                                        under the state laws of multiple states
            Encroachment on Executive                             is a question of predominance under rule
        Federal Civil Procedure                                   governing class actions, not a question of
            Causation; redressability                             standing under Article III. U.S. Const. art. 3,
        The standing requirement acknowledges that                §, 2, cl. 1; Fed. R. Civ. P. 23(b)(3).
        not all injuries can be remedied by courts,
                                                                  Cases that cite this headnote
        and that even some injuries that could are
        the responsibility of the political branches
        instead.                                           [11]   Federal Civil Procedure
                                                                      Common interest in subject matter,
        Cases that cite this headnote                             questions and relief; damages issues
                                                                  Predominance       requirement   for   class
 [7]    Constitutional Law                                        certification tests whether proposed classes
            Advisory Opinions                                     are sufficiently cohesive to warrant
        To avoid giving advisory opinions, court                  adjudication by representation. Fed. R. Civ.
        requires that parties that come before it have            P. 23(b)(3).
        a sufficient stake in the outcome of the case
                                                                  Cases that cite this headnote
        to render it a case or controversy. U.S. Const.
        art. 3, § 2, cl. 1.
                                                           [12]   Federal Civil Procedure
        Cases that cite this headnote                                 Common interest in subject matter,
                                                                  questions and relief; damages issues
 [8]    Federal Civil Procedure                                   The predominance requirement for class
            Class Actions                                         certification is satisfied if resolution of
        Class actions are an exception to the general             some of the legal or factual questions
        rule that one person cannot litigate injuries on          that qualify each class member’s case as a
        behalf of another. Fed. R. Civ. P. 23.                    genuine controversy can be achieved through
                                                                  generalized proof, and these particular issues
        Cases that cite this headnote                             are more substantial than the issues subject
                                                                  only to individualized proof. Fed. R. Civ. P.
 [9]    Federal Civil Procedure                                   23(b)(3).
            Class Actions
                                                                  Cases that cite this headnote
        Class actions result in efficiencies of cost,
        time, and judicial resources and permit a
                                                           [13]   Federal Civil Procedure
        collective recovery where obtaining individual
                                                                      Common interest in subject matter,
        judgments might not be economically feasible.
                                                                  questions and relief; damages issues
        Fed. R. Civ. P. 23.
                                                                  Variations      in   state   laws     do not
        Cases that cite this headnote                             necessarily prevent a class from satisfying
                                                                  the predominance requirement for class
 [10]    Federal Civil Procedure                                  certification. Fed. R. Civ. P. 23(b)(3).
             Representation of class; typicality;
                                                                  Cases that cite this headnote
        standing in general
        Federal Civil Procedure
                                                           [14]   Federal Civil Procedure


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            Evidence; pleadings and supplementary                   minor and should not overwhelm questions
        material                                                    common to class. Fed. R. Civ. P. 23(b)(3).
        As with all requirements for class certification,
                                                                    Cases that cite this headnote
        a party seeking certification has the ultimate
        burden to demonstrate that any variations in
        relevant state laws do not predominate over          [17]   Federal Civil Procedure
        the similarities. Fed. R. Civ. P. 23.                           Common interest in subject matter,
                                                                    questions and relief; damages issues
        Cases that cite this headnote
                                                                    District court has a duty, before certifying
                                                                    a class, to take a close look at whether the
 [15]   Federal Civil Procedure                                     common legal questions predominate over
            Discretion of court                                     individual ones. Fed. R. Civ. P. 23(b)(3).
        Federal Courts
                                                                    Cases that cite this headnote
            Class actions
        The decision to certify a class is a discretionary
        determination, which appellate court will            [18]   Federal Civil Procedure
        only overturn if the district court abused                      Common interest in subject matter,
        its discretion; to be afforded this deference,              questions and relief; damages issues
        however, the certification must be sufficiently             To determine whether variations in relevant
        supported and explained. Fed. R. Civ. P. 23.                state laws do not predominate over the
                                                                    similarities, as required for class certification,
        Cases that cite this headnote                               district courts must do more than take the
                                                                    plaintiff’s word that no material differences
 [16]   Federal Courts                                              exist; rather, district courts themselves must
            Need for further evidence, findings, or                 undertake a considered analysis of the
        conclusions                                                 differences in state laws. Fed. R. Civ. P. 23(b)
                                                                    (3).
        District court failed to engage in rigorous
        analysis of similarities and difference in                  Cases that cite this headnote
        various state consumer protection laws
        at issue when granting motion for class
        certification, and thus remand was necessary         [19]   Federal Civil Procedure
        to determine whether state law similarities or                  Identification of class; subclasses
        differences would predominate, in consumer's                A district court that relies on subclasses to
        action against seller of baby bath products,                cure predominance issues as a prerequisite
        although both parties submitted complicated                 to certification must identify the required
        and confusing summaries of state consumer                   subclasses and explain why they are necessary.
        protection laws in 18 states; district court's              Fed. R. Civ. P. 23(b)(3).
        analysis consisted of one paragraph, district
        court did not sufficiently engage with                      Cases that cite this headnote
        seller's arguments about reliance, instead
        concluding that it appeared that none of
        the states' high courts had insisted on
        reliance, other identified differences, including    Appeal from the United States District Court for the
        whether intent to deceive was required and           District of Connecticut. No. 13 Civ. 1471—Jeffrey A.
        whether causation could be presumed, were            Meyer, Judge.
        not discussed, and district court only stated
        generally that identified differences were




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                                                                 those products in part because their labels said they
Attorneys and Law Firms                                          contained “natural” ingredients. In reality, the products
                                                                 were made up of a high percentage of non-natural, non-
Mark P. Kindall, Izard, Kindall & Raabe, LLP, West
                                                                 water ingredients.
Hartford, CT (Nicole A. Veno, Simsbury, CT, on the
brief ), for Plaintiff-Appellee.
                                                                 In October 2013, Langan sued Johnson & Johnson
Harold P. Weinberger (Eileen M. Patt, Benjamin M.                on behalf of herself and “all others similarly situated”
Arrow, on the brief ), Kramer Levin Naftalis & Frankel           alleging that the company’s labeling was deceptive and
LLP, New York, NY, for Defendant-Appellant.                      violated CUTPA as well as the “mini-FTC acts” of twenty
                                                                 other states. Langan sought to certify a plaintiff class
Before: Walker, Lynch, and Chin, Circuit Judges.                 and requested compensatory and punitive damages as
                                                                 well as attorney’s fees. Both parties moved for summary
Opinion                                                          judgment.
John M. Walker, Jr., Circuit Judge:
                                                                 The district court denied both parties’ motions for
 *1 Connecticut resident Heidi Langan sued Johnson               summary judgment and certified a class as to two
& Johnson Consumer Companies, Inc. (“Johnson &                   bath products, but not the sunscreens. The two
Johnson”) on behalf of herself and “all others similarly         products, sold under the Aveeno Baby Brand, were the
situated” for deceptive labeling. Plaintiff alleged that         “Calming Comfort Bath” (“bath”) and the “Wash and
several of the company’s baby products were labeled              Shampoo” (“wash”). App’x 197. Johnson & Johnson
“natural” when they were not. Langan claimed that this           petitioned for permission to appeal pursuant to Federal
labeling violated the Connecticut Unfair Trade Practices         Rules of Civil Procedure 23(f), and we granted leave.
Act (CUTPA), as well as the state consumer protection            On appeal, Johnson & Johnson principally challenges the
laws of twenty other states, and sought to certify a plaintiff   district court’s conclusions that (1) Langan has Article
class. After both parties moved for summary judgment,            III standing to bring a class-action claim on behalf of
the district court denied both motions, and certified a class    consumers in states other than Connecticut, and (2) the
of consumers who purchased two baby bath products in             state laws in the other states are sufficiently similar to
eighteen states. 1 We granted Johnson & Johnson leave            support certifying the class. 2
to appeal the class certification. On appeal, Johnson
& Johnson principally challenges the district court’s
conclusions that (1) Langan has Article III standing to                                DISCUSSION
bring a class-action claim on behalf of consumers in states
other than Connecticut and (2) the state laws in the              [1] “We review a district court’s decision to certify a class
other states are sufficiently similar to support certifying      under Rule 23 for abuse of discretion, the legal conclusions
the class. Although we hold that Langan has Article III          that informed its decision de novo, and any findings of fact
standing, on the record before us, it is not clear that the      for clear error.” Sykes v. Mel S. Harris & Assocs. LLC,
district court undertook the requisite considered analysis       780 F.3d 70, 79 (2d Cir. 2015) (internal quotation marks
of the material differences in the state laws at issue           omitted).
before concluding that their similarities predominated
over their differences. We therefore VACATE the district
court’s grant of certification, and REMAND for further              I. Article III Standing
proceedings consistent with this opinion.                         *3 [2] Johnson & Johnson argues that Langan
                                                                 lacks constitutional standing to represent putative class
                                                                 members whose claims are governed by the laws of states
                                                                 other than Connecticut. Because a plaintiff’s standing
                     BACKGROUND                                  to sue implicates our power to hear the case, we must
                                                                 consider the issue even though it was barely raised in and
 *2 Connecticut resident Heidi Langan purchased several
                                                                 not addressed by the district court. See Keepers, Inc. v.
Johnson & Johnson sunscreens and bath products for
her baby in 2012. Langan alleges that she purchased


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City of Milford, 807 F.3d 24, 39 (2d Cir. 2015) (noting that   Rule 23 inquiry and certifying class action brought under
standing may be raised “for the first time on appeal”).        laws of multiple states after finding no standing problem).

 [3] [4] “Article III, Section 2 of the Constitution limits    “[A]s the Supreme Court has acknowledged, there is
the jurisdiction of the federal courts to the resolution of    some ‘tension’ in its case law as to whether ‘variation’
‘cases’ and ‘controversies.’ ” Mahon v. Ticor Title Ins.       between (1) a named plaintiff’s claims and (2) the claims
Co., 683 F.3d 59, 62 (2d Cir. 2012) (internal quotation        of putative class members ‘is a matter of Article III
marks omitted). “To ensure that this bedrock case-             standing ... or whether it goes to the propriety of class
or-controversy requirement is met, courts require that         certification ....’ ” NECA-IBEW Health & Welfare Fund
plaintiffs establish their standing as the proper parties to   v. Goldman Sachs & Co., 693 F.3d 145, 160 (2d Cir. 2012)
bring suit.” Id. (internal quotation marks and alterations     (quoting Gratz v. Bollinger, 539 U.S. 244, 263 & n.15,
omitted). To have standing to sue, “a plaintiff must           123 S.Ct. 2411, 156 L.Ed.2d 257 (2003)). To understand
demonstrate (1) a personal injury in fact (2) that the         why variations in state law present a class certification
challenged conduct of the defendant caused and (3) which       problem and not a constitutional standing problem, it is
a favorable decision will likely redress.” Id.                 helpful to consider the complicated relationship between
                                                               the standing requirement and class actions generally.
Unremarkably, the parties agree that Connecticut’s
consumer protection statute, CUTPA, does not apply              *4 [5] [6] [7] The doctrine of standing tests whether
to the purchase of bath and wash products in other             a prospective litigant may properly invoke the power of
states. Likewise, the parties agree that Langan herself        the federal courts. See Spokeo, Inc. v. Robins, ––– U.S.
has standing to sue Johnson & Johnson under CUTPA              ––––, 136 S.Ct. 1540, 1547, 194 L.Ed.2d 635 (2016). The
because she alleged that she paid a premium in                 standing requirement acknowledges that not all injuries
Connecticut for the products, based on Johnson &               can be remedied by courts, and that even some injuries
Johnson’s representations that they were natural, and that     that could are the responsibility of the political branches
those injuries can be redressed by an order compelling         instead. See id. (“The law of Article III standing serves
Johnson & Johnson to pay Langan money damages. See             to prevent the judicial process from being used to usurp
Mahon, 683 F.3d at 62.                                         the powers of the political branches.” (internal quotation
                                                               marks and alterations omitted)); Steel Co. v. Citizens for a
The only point of contention is whether Langan has             Better Env’t, 523 U.S. 83, 107, 118 S.Ct. 1003, 140 L.Ed.2d
standing to bring a class action on behalf of unnamed,         210 (1998). To avoid giving advisory opinions, we require
yet-to-be-identified class members from other states under     that parties that come before us have a sufficient stake in
those states’ consumer protection laws. Because there          the outcome of the case to render it a case or controversy.
has been considerable disagreement over this question          See Steel Co., 523 U.S. at 97, 101, 118 S.Ct. 1003; see also
in the district courts, we write to make explicit what         U.S. Const. art. III, § 2.
we previously assumed in In re Foodservice Inc. Pricing
Litigation, 729 F.3d 108 (2d Cir. 2013): as long as             [8] [9] Class actions under Rule 23 of the Federal Rules
the named plaintiffs have standing to sue the named            of Civil Procedure are an exception to the general rule that
defendants, any concern about whether it is proper for         one person cannot litigate injuries on behalf of another.
a class to include out-of-state, nonparty class members        See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348,
with claims subject to different state laws is a question of   131 S.Ct. 2541, 180 L.Ed.2d 374 (2011). Through Rule 23,
predominance under Rule 23(b)(3), id. At 126–27, not a         Congress has authorized plaintiffs to bring, under limited
question of “adjudicatory competence” under Article III,       circumstances, a suit in federal court on behalf of, not just
Morrison v. YTB Int’l, Inc., 649 F.3d 533, 536 (7th Cir.       themselves, but others who were similarly injured. See id.
2011). Compare Richards v. Direct Energy Servs., LLC,          at 348–49, 131 S.Ct. 2541. Such suits result in efficiencies
120 F.Supp.3d 148, 154–56 (D. Conn. 2015) (denying             of cost, time, and judicial resources and permit a collective
certification as to out-of-state class members for lack of     recovery where obtaining individual judgments might
standing), with In re Bayer Corp. Combination Aspirin          not be economically feasible. See Amchem Prods., Inc.
Prods. Mktg. & Sales Practices Litig., 701 F.Supp.2d 356,      v. Windsor, 521 U.S. 591, 617, 117 S.Ct. 2231, 138
376–77 (E.D.N.Y. 2010) (distinguishing standing from the       L.Ed.2d 689 (1997) (“The policy at the very core of the



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class action mechanism is to overcome the problem that          to one of the defendant companies that had not actually
small recoveries do not provide the incentive for any           sold insurance to the plaintiff, and we affirmed. See id.
individual to bring a solo action prosecuting his or her        at 60–61. Even though the company used forms and
rights.” (internal quotation marks omitted) ); Gen. Tel.        practices that were similar to those used by the company
Co. of the Sw. v. Falcon, 457 U.S. 147, 155, 102 S.Ct. 2364,    that did sell to the plaintiff and was owned by the same
72 L.Ed.2d 740 (1982). Although a named class action            parent company, we held that the plaintiff lacked standing
plaintiff has not actually suffered the injuries suffered       to sue the company that had not actually misled her
by her putative class members (and therefore would not          because, “with respect to each asserted claim” against each
normally have standing to bring those suits), Congress          defendant, “a plaintiff must always have suffered a distinct
has said that the fact that the parties “possess the same       and palpable injury to herself.” Id. at 64 (alterations,
interest” and “suffer[ed] the same injury” gives the named      quotation marks, and emphasis omitted).
plaintiff a sufficient stake in the outcome of her putative
class members’ cases. Wal-Mart, 564 U.S. at 348–49, 131          *5 On the other hand, non-identical injuries of the
S.Ct. 2541.                                                     same general character can support standing. See NECA,
                                                                693 F.3d at 148–49. In NECA, we held that the
This requirement is easy enough to satisfy when the             plaintiff, a purchaser of mortgage-backed certificates,
would-be class members’ cases are substantially identical.      could certify a class including certificate holders outside
For example, a plaintiff who purchased the same product,        the specific tranche from which the named plaintiff
on the same day, at the same place, from the same               purchased certificates, even though the certificates from
defendant, because of the same misleading offer as many         each tranche varied in their payout priority. See id. at 164.
other purchasers would plainly have standing to sue on          We reasoned that these different payment priorities did
behalf of those similarly situated purchasers.                  not render a certificate holder who would be paid sooner
                                                                incapable of representing a certificate holder who would
In reality, it rarely happens that the circumstances            be paid later, or vice versa, because all certificate holders
surrounding one plaintiff’s claim end up being identical        had “the same necessary stake in litigating whether [the]
to the claims of another putative class member, let alone       lenders ... abandoned their” responsibilities to follow
all of the others. Anticipating this, some of Rule 23’s         underwriting guidelines. Id. (internal quotation marks
requirements (e.g., commonality and typicality under            omitted). Compare Gratz, 539 U.S. at 262–63, 123 S.Ct.
23(a), and predominance under 23(b) ) exist to prevent          2411 (finding no standing problem even though factual
courts from certifying classes that do not share sufficiently   differences existed between the challenged race-based
similar characteristics. See Wal-Mart, 564 U.S. at 349, 131     transfer policy applied to plaintiff and the freshman
S.Ct. 2541. At some point, however, a named plaintiff’s         admissions policy applicable to others in class), with Blum
claims can be so different from the claims of his putative      v. Yaretsky, 457 U.S. 991, 1001–02, 102 S.Ct. 2777, 73
class members that they present an issue not of the             L.Ed.2d 534 (1982) (holding that plaintiffs in state-run
prudence of certifying a class under Rule 23 but of             facilities who were threatened with transfers to facilities
constitutional standing. See Mahon, 683 F.3d at 62–63.          with lower levels of care did not have standing to sue on
The question for our purposes is at what point the claim        behalf of patients who were threatened with transfers to
of a named plaintiff is so different from the claims of her     higher levels of care because the conditions of the transfers
would-be class members that the exception that we make          were “sufficiently different” such that “judicial assessment
to the general standing requirements for class actions          of their procedural adequacy would be wholly gratuitous
should not apply. Our caselaw supplies a few answers.           and advisory”).

We have held that the claims of putative class members          The question in this case is whether there is a standing
are too dissimilar to support standing against a particular     problem when a plaintiff attempts to sue on behalf
defendant when that defendant did not actually injure           of those who may have claims under different states’
a named plaintiff. In Mahon, we considered a putative           laws that generally prohibit the same conduct. Although
consumer class action against title insurance companies         we have not expressly resolved this question, we have
that allegedly concealed the availability of reduced rates.     previously assumed that this is an issue best addressed
See id. at 60. The district court denied certification as       under Rule 23, rather than as a standing issue. See



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In re Foodservice, 729 F.3d at 112. For example, in             Finally, the only other circuit to have addressed this
In re Foodservice, we considered a consumer class               issue has reached the same conclusion. See Morrison,
action against a food distributor that, the plaintiffs          649 F.3d at 536 (explaining that whether plaintiff could
alleged, fraudulently overbilled its customers. See id. The     bring putative class action on behalf of out-of-state class
defendants appealed the district court’s certification of       members “ha[d] nothing to do with standing, though it
the class, claiming that certification was improper because     may affect whether a class should be certified—for a class
the class action implicated the distinct contract laws of       action arising under the consumer-fraud laws of all 50
multiple states. See id. at 126. We rejected that argument      states may not be manageable, even though an action
and affirmed the certification, reasoning that “putative        under one state’s law could be”).
class actions involving the laws of multiple states are
often not properly certified pursuant to Rule 23(b)(3)           *6 We are not convinced by the reasoning of those
because the variation in the legal issues to be addressed       district courts that have addressed the issue we confront
overwhelms the issues common to the class.” Id. at 126–         as a standing issue. For example, in Richards v. Direct
27 (emphasis added).                                            Energy Servs., LLC, the district court concluded that
                                                                a Connecticut plaintiff that alleged that the defendant
This approach of considering variations in state laws as        energy company had attracted customers with misleading
questions of predominance under Rule 23(b)(3), rather           promises of low rates lacked standing to sue on behalf
than standing under Article III, makes sense. For one,          of Massachusetts consumers who were injured by the
it acknowledges the obvious truth that class actions            same defendant. 120 F.Supp.3d at 151. The court
necessarily involve plaintiffs litigating injuries that they    reasoned that “[w]ithout an allegation that [the named
themselves would not have standing to litigate. See In re       plaintiff] personally was injured in Massachusetts,” the
Bayer Corp., 701 F.Supp.2d at 377 (“Whether the named           plaintiff’s claim was essentially that, like the plaintiffs in
plaintiffs have standing to bring suit under each of the        Massachusetts, he had “suffered in some indefinite way
state laws alleged is ‘immaterial’ because they are not         in common with people generally.” Id. at 155 (internal
bringing those claims on their own behalf, but are only         quotation marks and alteration omitted). This reasoning
seeking to represent other, similarly situated consumers        falters upon its premise: the harm the plaintiff alleged was
in those states.”). Since class action plaintiffs are not       not a general grievance common to people generally; it
required to have individual standing to press any of            was a specific grievance based on the defendant’s falsely
the claims belonging to their unnamed class members,            advertised rates, suffered by specific people (Connecticut
it makes little sense to dismiss the state law claims           and Massachusetts customers of the defendant), under a
of unnamed class members for want of standing when              specific set of circumstances. See id. We fail to see how
there was no requirement that the named plaintiffs have         the fact that the defendant’s wrongful conduct impacted
individual standing to bring those claims in the first place.   customers in two states rendered the injuries of the
See id.                                                         Massachusetts consumers somehow more indefinite than
                                                                the identical injuries of the Connecticut consumers. 3
This approach also accords with the Supreme Court’s
preference for dealing with modest variations between            [10] Accordingly, we conclude that whether a plaintiff
class members’ claims as substantive questions, not             can bring a class action under the state laws of multiple
jurisdictional ones. See Gratz, 539 U.S. at 266, 123 S.Ct.      states is a question of predominance under Rule 23(b)
2411 (explaining that differences in use of race between        (3), not a question of standing under Article III. Since
transfer- and freshman-admissions policies “clearly ha[d]       Langan’s individual standing to sue is not in doubt, we
no effect on petitioners’ standing to challenge the             turn to the question of whether the district court correctly
[policies]” but “might be relevant to a narrow tailoring        determined that the predominance requirement of Rule
analysis”); see also Lewis v. Casey, 518 U.S. 343, 358 n.6,     23(b)(3) was satisfied.
116 S.Ct. 2174, 135 L.Ed.2d 606 (1996) (“The standing
determination is quite separate from certification of the
class.”).                                                          II. Predominance
                                                                 [11] [12] Langan attempted to certify a class under Rule
                                                                23(b)(3), the provision that allows for the common “opt-



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out” class action, a class action designed to bind all class   role of an appellate court to ensure that class certification
members except those who affirmatively choose to be            determinations are made pursuant to appropriate legal
excluded. See Amchem, 521 U.S. at 614–15, 117 S.Ct.            standards.”).
2231; see also Scott Dodson, An Opt-In Option for Class
Actions, 115 Mich. L. Rev. 171, 177–79 (2016). To ensure        [16] The district court found that Langan had shown
that binding absent class members is fair, see Comcast         predominance since there was no indication that any
Corp. v. Behrend, 569 U.S. 27, 34, 133 S.Ct. 1426, 185         of the minor differences Johnson & Johnson identified
L.Ed.2d 515 (2013), before a district court may certify a      between the various state consumer protection laws
class under Rule 23(b)(3) the party seeking certification      “should overwhelm the questions common to the class”
must show that “questions of law or fact common to             given that “[a]ll the states have a private right of action for
class members predominate over any questions affecting         consumer protection violations, allow class actions, and
only individual members.” Fed. R. Civ. P. 23(b)(3).            have various other important similarities.” App’x 195–96.
This predominance requirement “tests whether proposed          On appeal, Johnson & Johnson argues that the district
classes are sufficiently cohesive to warrant adjudication      court erred by failing to engage in a rigorous analysis of
by representation.” Mazzei v. Money Store, 829 F.3d 260,       the similarities and differences in the various state laws at
272 (2d Cir. 2016) (internal quotation marks omitted).         issue. We agree.
The predominance requirement is satisfied if “resolution
of some of the legal or factual questions that qualify          [17] Under Rule 23(b)(3), the district court has a “duty,”
each class member’s case as a genuine controversy can          before certifying a class, to “take a close look” at whether
be achieved through generalized proof,” and “these             the common legal questions predominate over individual
particular issues are more substantial than the issues         ones. Comcast, 569 U.S. at 34, 133 S.Ct. 1426 (internal
subject only to individualized proof.” Roach v. T.L.           quotation marks omitted). Although, to date, we have not
Cannon Corp., 778 F.3d 401, 405 (2d Cir. 2015).                explained what such a “close look” requires, out-of-circuit
                                                               precedent offers helpful guidance.
 [13]    [14] Variations in state laws do not necessarily
prevent a class from satisfying the predominance                [18] To begin, district courts must do more than take
requirement. See In re U.S. Foodservice, 729 F.3d at 127       the plaintiff’s word that no material differences exist. See
(holding that there was no predominance problem with           Walsh, 807 F.2d at 1016 (refusing to accept “on faith” the
a putative class action brought under the state contract       plaintiffs’ claims on appeal that “no variations in state ...
law of various states where all of the jurisdictions had       laws relevant to [the] case exist[ed]”). Rather, district
adopted the Uniform Commercial Code). As with all              courts themselves must undertake a considered analysis of
Rule 23 requirements, the party seeking certification has      the differences in state laws. See Sacred Heart Health Sys.,
the ultimate burden to demonstrate that any variations         Inc. v. Humana Military Healthcare Servs., Inc., 601 F.3d
in relevant state laws do not predominate over the             1159, 1180 (11th Cir. 2010). In Sacred Heart, the Eleventh
similarities. See Wal-Mart, 564 U.S. at 350, 131 S.Ct.         Circuit reversed the district court’s certification of a class
2541; In re U.S. Foodservice, 729 F.3d at 127 (finding         of hospitals that claimed they were underpaid for medical
no predominance issue where defendant had alleged but          services by a health maintenance organization. See id. The
not proffered evidence to support its claim that variation     district court, in discussing the potential predominance
in evidentiary standards among states overwhelmed the          issue regarding certain differences in relevant state laws,
similarities).                                                 had stated only that there were “some variations” but that
                                                               since the laws of “only six states” were involved, common
 *7 [15] The decision to certify a class is a discretionary    issues would not be overwhelmed. Id. The Eleventh Circuit
determination, which we will only overturn if the district     found this cursory explanation not to be a “serious
court abused its discretion. See In re U.S. Foodservice, 729   analysis of the variations in applicable state law,” and that
F.3d at 116. To be afforded this deference, however, the       by certifying a class based on it, the district court abused
certification must be sufficiently supported and explained.    its discretion. Id.
See In re Hyundai & Kia Fuel Econ. Litig., 881 F.3d 679,
690 (9th Cir. 2018); Walsh v. Ford Motor Co., 807 F.2d          [19] As part of its analysis, a district court that relies on
1000, 1006 (D.C. Cir. 1986) (“[I]t is unquestionably the       subclasses to cure predominance issues as a prerequisite



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to certification must identify the required subclasses and
                                                                     Accordingly, we remand the case to the district court to
explain why they are necessary. See id. at 1183. In Sacred
                                                                     conduct a more thorough analysis. See In re Am. Int’l
Heart, the district court had also suggested in passing
                                                                     Grp., Inc. Sec. Litig., 689 F.3d 229, 243 (2d Cir. 2012)
that identifying subclasses could be a way to address
                                                                     (vacating grant of class certification and remanding for
predominance problems. The district court, however, had
                                                                     further consideration as to predominance where it was not
not identified any potential subclasses, nor discussed how
                                                                     clear from the record on appeal “whether variations in
those subclasses would cure the predominance issues. See
                                                                     state law might cause class members’ interests to diverge”);
id. The Eleventh Circuit concluded that the district court’s
                                                                     Walsh, 807 F.2d at 1019 (remanding to the district court
oblique reference to subclasses failed to explain how
                                                                     after clarifying the Rule 23(b)(3) predominance inquiry so
subclasses would prevent “the proliferation of disparate
                                                                     the district court could redo the analysis). Although this
factual and legal issues,” given that, in addition to the
                                                                     court is free to consider variations in state laws in the first
state law variations, material provisions of the individual
                                                                     instance, see, e.g., Johnson v. Nextel Commc’ns Inc., 780
contracts for legal services varied as well. Id. Because these
                                                                     F.3d 128, 146–48 (2d Cir. 2015), the judgment whether
factual and legal differences suggested a need for multiple
                                                                     to certify a class under Rule 23(b)(3) is a discretionary
sets of subclasses, the district court’s mere mention of
                                                                     determination that we think is best made by the district
subclasses was not an “adequate response.” Id.
                                                                     court upon appropriate analysis of the circumstances of
                                                                     the case. See generally In re Initial Pub. Offerings Sec.
 *8 We are not convinced that the district court
                                                                     Litig., 471 F.3d 24, 31 (2d Cir. 2006), decision clarified on
here undertook the requisite considered analysis of
                                                                     denial of reh’g, 483 F.3d 70 (2d Cir. 2007). Out of respect
the variations in state law and the potential need
                                                                     for the district court’s comparative advantage at weighing
for subclasses that might result from those variations.
                                                                     whether, under the circumstances of this case, state law
Although both parties submitted complicated and
                                                                     similarities or differences will predominate, we remand
conflicting summaries of the state consumer protection
                                                                     the case to the able district judge to carefully analyze
laws in eighteen states, the district court’s analysis
                                                                     the relevant state laws, decide whether subclasses are
consisted of one paragraph. In that paragraph, it is our
                                                                     appropriate, reconsider the predominance question, and
view that the district court did not sufficiently engage
                                                                     explain in greater detail its conclusion on that question.
with Johnson & Johnson’s arguments about reliance,
instead concluding that “it appears” that none of the
states’ high courts have insisted on reliance. See App’x at
195. The other identified differences—including whether                                     CONCLUSION
intent to deceive is required, and whether causation can
be presumed—were not discussed. As in Sacred Heart,                  For these reasons, we VACATE the district court’s grant
the district court only stated generally that the identified         of certification, and REMAND for further proceedings
differences were “minor” and “should [not] overwhelm                 consistent with this opinion.
the questions common to the class.” App’x at 195. We
believe that more precise and greater depth of analysis is
                                                                     All Citations
required to comport with the “close look” required by the
precedent.                                                           --- F.3d ----, 2018 WL 3542624


Footnotes
1      Although the district court inadvertently omitted Alaska from the list of relevant states on page 26 and in n.3 of its opinion,
       the district court did include Alaska in the list of states for which it certified a class. Accordingly, we refer to a plaintiff
       class in eighteen states.
2      Johnson & Johnson also argues that that the district court erred by not requiring Langan to demonstrate that the proposed
       class was “administratively feasible.” This argument is foreclosed by In re Petrobras Sec., 862 F.3d 250, 267–70 (2d Cir.
       2017) (rejecting the argument that proposed classes must be “administratively feasible” and holding that the class was
       “clearly objective” and “sufficiently definite” where it included people who acquired specific securities during a specific
       period in “domestic transactions” because class was “identified by subject matter, timing, and location,” which made it
       “objectively possible” to ascertain members (emphasis omitted) ). Since the class at issue here is identified by subject



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      matter (purchasers of the two products), timing (before November 2012 and 2013 respectively), and location (the eighteen
      identified states), it is likewise “clearly objective” and “sufficiently definite” such that determining who purchased the
      products is undoubtedly “objectively possible.” Id. at 269–70. Moreover, we think Johnson & Johnson’s identification
      concerns are overstated. In Petrobas, we cited approvingly the district court’s grant of certification where the district court
      allowed putative class members to provide a sworn affidavit indicating when and where they purchased the olive oil at
      issue (862 F.3d at 267 (citing Ebin v. Kangadis Food Inc., 297 F.R.D. 561, 567 (S.D.N.Y. 2014) ) ). Since we think it is
      more likely that a consumer would remember the time frame in which he purchased a bath or wash for his baby—that
      is, when his child was still a baby—than when he purchased a bottle of olive oil, we see no ascertainability problem with
      having the class members submit sworn affidavits describing the circumstances under which the purchases were made.
3     Johnson & Johnson’s argument that Mahon, discussed earlier, requires a different result is unpersuasive. First, Mahon’s
      rejection of “analyz[ing] class certification before Article III standing” only requires that a district court first determine that
      the party plaintiff was actually injured by each of the named defendants before proceeding to the Rule 23 inquiry. See
      Mahon, 683 F.3d at 64. Second, because the redressability and fundamental fairness concerns that arise when a plaintiff
      attempts to haul a non-injurious defendant into court are not present when a plaintiff initiates a class action under various
      state laws prohibiting similar conduct by the same defendant, this case is distinguishable from Mahon. See id. at 65–66.


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